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Information to identify the case:

Debtor 1:
                      Daren C. Daly                                                        Social Security number or ITIN:   xxx−xx−8895
                                                                                           EIN: _ _−_ _ _ _ _ _ _
                      First Name    Middle Name    Last Name

Debtor 2:                                                                                  Social Security number or ITIN: _ _ _ _
                      First Name    Middle Name    Last Name
(Spouse, if filing)                                                                        EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:         Southern District of Florida                       Date case filed for chapter:       11      7/26/22

           22−15694−SMG
Case number:

Notice of Chapter 11 Bankruptcy Case
For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See boxes 8 and 10 below for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR FAILURE TO TIMELY PAY
FILING FEE INSTALLMENTS, FAILURE TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED SCHEDULES,
STATEMENTS OR LISTS, AND FOR FAILURE TO FILE PRE−BANKRUPTCY CERTIFICATION OF CREDIT COUNSELING OR FILE WAGE
DOCUMENTATION.

                                                  About Debtor 1:                                              About Debtor 2:
 1. Debtor's Full Name                            Daren C. Daly

 2. All Other Names Used
    in the Last 8 Years
                                                  aka Resurface Industries, LLC, dba All Paving,
                                                  Inc.

 3. Address                                       10248 NW 62 CT
                                                  Pompano Beach, FL 33076

                                                  Isaac M Marcushamer Esq.
      Debtor's Attorney                           DGIM Law, PLLC
 4. (or Pro Se Debtor)                            2875 NE 191st Street                                         Contact phone 305−763−8708
      Name and address                            Suite 705
                                                  Aventura, FL 33180

                                                  Tarek Kirk Kiem
 5. Bankruptcy Trustee                            PO Box 541325                                                Contact phone 561−600−0406
      Name and address
                                                  Greenacres, FL 33454

 6. Bankruptcy Clerk's                            Federal Building                                            Hours open 8:30 a.m. − 4:00 p.m.
    Divisional Office Where                       299 E Broward Blvd, Room 112                                Contact phone (954) 769−5700
    Assigned Judge is                             Ft Lauderdale FL 33301
    Chambered
      Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.         Note: Contact the Clerk's Office at the
      Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal           number listed above or check the court's
      (at no charge for viewing) or via PACER on the internet accessible at pacer.uscourts.gov
      (charges will apply). Case filing and unexpired deadline dates can be obtained by calling the           website for reduced hours of operation
      Voice Case Information System toll−free at (866) 222−8029. As mandated by the Department                for in−person filings.
      of Homeland Security, ALL visitors (except minors accompanied by an adult) to any federal               Clerk of Court: Joseph Falzone
      building or courthouse, must present a current, valid, government issued photo identification
      (e.g. drivers' license, state identification card, passport, or immigration card.)                       Dated: 7/27/22

      * MEETING OF CREDITORS * August 25, 2022 at 10:00 AM                                                        *MEETING WILL BE HELD BY
                                                                                                                        TELEPHONE*
      Debtors must attend the meeting to          The meeting may be continued or adjourned to a later
 7. be questioned under oath. In a joint          date. If so, the date will be on the court docket.        Trustee: Office of the US Trustee
      case, both spouses must attend.
      Creditors may attend, but are not                                                                     Call in number: 866−718−3078
      required to do so.                                                                                    Participant Code: 7694388
                                                                                       Notice of Chapter 11 Bankruptcy Case                            page 1
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Local Form 309E2 USBC SDFL (For Individuals or Joint Debtors under
Subchapter V) (06/14/2021)
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Debtor Daren C. Daly                                                                                                           Case number 22−15694−SMG

8. Deadlines                           File by the deadline to object to discharge or to challenge Filing deadline for complaint under
    The bankruptcy clerk's office      whether certain debts are dischargeable:                    §1141(d)(3): First date set for hearing
    must receive these documents                                                                   on confirmation of plan. The court will
    and any required filing fee                                                                                              send you a notice of that date later.
    by the following deadlines.        You must file a complaint:
    Writing a letter to the court or                                                                                         Filing deadline for
    judge is not sufficient.
    See box 10 for more
                                                • ifdischarge
                                                      you assert that the debtor is not entitled to receive a
                                                              of any debts under 11 U.S.C. § 1141(d)(3)
                                                                                                                             dischargeability
                                                                                                                             complaints: 10/24/2022
    information.
                                                  or
                                                • ifunder
                                                     you want to have a debt excepted from discharge
                                                          11 U.S.C. § 523(a)(2), (4), or (6).


                                       Deadline for filing proof of claim:               10/4/22                             For a governmental unit: 1/22/23
                                       A proof of claim is a signed statement describing a creditor's claim. A proof
                                       of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                       clerk's office.
    When Filing Proofs of
                                       Your claim will be allowed in the amount scheduled unless:
    Claim:
    Claims may be delivered or
                                                • your claim is designated as disputed, contingent, or unliquidated;
    mailed to the clerk's office.
                                                • you file a proof of claim in a different amount; or
    Creditors with internet access
    have the option to use the                  • you receive another notice.
    electronic claims filing program
    on the court website at            If your claim is not scheduled or if your claim is designated as disputed,
    www.flsb.uscourts.gov to           contingent, or unliquidated, you must file a proof of claim or you might not
    electronically file a proof of     be paid on your claim and you might be unable to vote on a plan. You may
    claim.                             file a proof of claim even if your claim is scheduled. Secured creditors retain
                                       rights in their collateral regardless of whether they file a proof of claim.
                                       Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy
                                       court, with consequences a lawyer can explain. For example, a secured
                                       creditor who files a proof of claim may surrender important nonmonetary
                                       rights, including the right to a jury trial. The deadline for filing objections to
                                       claims will be established pursuant to Local Rule 3007−1(B)(1).

                                       Filing Deadline for a Creditor with a Foreign Address: The deadlines for
                                       filing proofs of claim in this notice apply to all creditors. If you are a creditor
                                       receiving a notice mailed to a foreign address, you may file a motion asking
                                       the court to extend the deadline to file a proof of claim. Consult an attorney
                                       familiar with United States bankruptcy law if you have any questions about
                                       your rights in this case.


                                       Deadline to object to exemptions:                                                     Filing Deadline:
                                       The law allows debtors to keep certain property as exempt. Fully exempt               30 days after the conclusion of the
                                       property will not be sold and distributed to creditors, even if the case is           meeting of creditors, or within 30 days
                                       converted to chapter 7. Debtors must file a list of property claimed as               of any amendment to the list of
                                       exempt. You may inspect that list at the bankruptcy clerk's office or online          supplemental schedules, unless as
                                       at pacer.uscourts.gov. If you believe that the law does not authorize an              otherwise provided under Bankruptcy
                                       exemption that the debtors claim, you may file an objection. The                      Rule 1019(2)(B) and Local Rule
                                       bankruptcy clerk's office must receive the objection by the deadline to               4003−1(B) for converted cases.
                                       object to exemptions.
                                       Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
                                       confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you may
9. Filing a Chapter 11
   Bankruptcy Case
                                       have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and you
                                       may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor
                                       will remain in possession of the property and may continue to operate the debtor's business.
                                         Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt. See
                                         11 U.S.C. § 1141(d). However, the discharge of debtor may not be issued until all requirements for discharge
                                         have been completed. A discharge means that creditors may never try to collect the debt from the debtors
                                         personally except as provided in the plan. If you believe that a particular debt owed to you should be excepted
                                         from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the filing fee in the
                                         bankruptcy clerk's office by the deadline in box 8. If you believe that the debtors are not entitled to a discharge of
10. Discharge of Debts                   any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee in the clerk's
                                         office by the first date set for the hearing on confirmation of the plan. The court will send you another notice telling
                                         you of that date. Prior to receiving a discharge, the debtor must file and serve the Local Form "Notice of Deadline
                                         to Object to Debtor's Statement Re: 11 U.S.C. §522(q)(1) Applicability, Payment of Domestic Support Obligations,
                                         and [For Chapter 11 Cases Only] Applicability of Financial Management Course and Statement Regarding
                                         Eligibility to Receive a Discharge", as required under Local Rule 4004−3(A)(4).

    Option to Receive                  1) EBN program open to all parties. Register at the BNC website bankruptcynotices.uscourts.gov, OR 2) DeBN
11. Notices Served by the
    Clerk by Email Instead
                                       program open to debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to Receive
                                       Notices Electronically Under DeBN Program". There is no charge for either option. See also Local Rule 9036−1(B)
    of by U.S. Mail                    and (C).

                                        Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
12. Translating Services                trustee, through a telephone interpreter service. Persons with communications disabilities should contact the U.S.
                                        Trustee's office to arrange for translating services at the meeting of creditors.

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                                                                                  Notice of Chapter 11 Bankruptcy Case                                         page 2
Subchapter V)
